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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

 COVVES, LLC,                                        )
                                                     )
                               Plaintiff,            )
                                                     )
                          v.                         )       No. 1:18-cv-03307-JMS-TAB
                                                     )
 BIGMOUTH INC.,                                      )
 BIGMOUTH LLC.,                                      )
                                                     )
                               Defendants.           )

            TRIAL SETTING AND NOTICE OF FINAL PRETRIAL CONFERENCE

         This cause is hereby set for a Jury Trial before Judge Jane Magnus-Stinson on October 26,

 2020 at 9:00 a.m. in Room 307 of the Birch Bayh Federal Building and U.S. Courthouse, 46 East

 Ohio Street, Indianapolis, Indiana.

         A Final Pretrial Conference is also set for September 30, 2020 at 9:00 a.m. in Room 307

 of the Birch Bayh Federal Building and U.S. Courthouse, 46 East Ohio Street, Indianapolis,

 Indiana.

         Counsel are reminded of the required pretrial preparation deadlines set forth in the case

 management plan dkt. [36].

         Counsel are further reminded to review the undersigned’s Practices and Procedures,

 available at dkt. [6].



         Date: September 19, 2019
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